






							

	

	

	

	


NUMBER 13-09-00680-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      

							 

ADOLFO GARCIA,					   			 Appellant,

					

v.

									

THE STATE OF TEXAS,					        	 	  Appellee.

                                                                                                                                      


On appeal from the 117th District Court

of Nueces County, Texas.

                                                                                                                      


  MEMORANDUM OPINION

					

Before Chief Justice Valdez and Justices Rodriguez and Vela


  Memorandum Opinion by Chief Justice Valdez
	

	On August 21, 2007, Adolfo Garcia pleaded guilty to the offense of burglary of a
building, a state-jail felony.  See Tex. Penal Code Ann. § 30.02(a), (c) (Vernon 2003).  The
trial court assessed punishment at eighteen months' imprisonment, suspended the
sentence and imposed community supervision for three years, plus a $1,000 fine and $236
in court costs.  On March 17, 2008, the State filed a motion to revoke, alleging various
violations of the terms of Garcia's community supervision.  Garcia pleaded "true" to failing
to:  (1) report on several occasions; (2) pay fines; (3) pay supervision fees; and (4)
complete 100 hours of community service.  Following a hearing, the trial court accepted
Garcia's pleas of "true" and found those violations to be true.  The trial court sentenced
Garcia to eighteen months' imprisonment and ordered him to pay $286.72 in court costs. 
Garcia appeals the revocation of his community supervision.  We affirm. 

I. Anders Brief

	Pursuant to Anders v. California, 386 U.S. 738, 744 (1967), Garcia's court-appointed
appellate counsel has filed a brief with this Court, stating that his review of the record
yielded no grounds or error upon which an appeal can be predicated.  Though counsel
presents "issues" in his brief, he concludes that these issues" lack merit and that any
appeal in this case would be frivolous.  See id.  Counsel's brief meets the requirements of
Anders as it presents a professional evaluation demonstrating why there are no arguable
grounds to advance on appeal.  See In re Schulman, 252 S.W.3d 403, 407 n.9 (Tex. Crim.
App. 2008) ("In Texas, an Anders brief need not specifically advance 'arguable' points of
error if counsel finds none, but it must provide record references to the facts and
procedural history and set out pertinent legal authorities.") (citing Hawkins v. State, 112
S.W.3d 340, 343-44 (Tex. App.-Corpus Christi 2003, no pet.)); Stafford v. State, 813
S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991).

	In compliance with High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel Op.]
1978), Garcia's counsel has carefully discussed why, under controlling authority, there are
no errors in the trial court's judgment.  Counsel has informed this Court that he has:  (1)
examined the record and found no arguable grounds to advance on appeal, (2) served a
copy of the brief and counsel's motion to withdraw on Garcia, and (3) informed Garcia of
his right to review the record and to file a pro se response. (1)  See Anders, 386 U.S. at 744;
Stafford, 813 S.W.2d at 510 n.3; see also In re Schulman, 252 S.W.3d at 409 n.23.  More
than an adequate period of time has passed, and Garcia has not filed a pro se response. 
See In re Schulman, 252 S.W.3d at 409.

II. Independent Review

	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous.  Penson v. Ohio, 488 U.S.
75, 80 (1988).  We have reviewed the entire record and counsel's brief and have found
nothing that would arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824,
826-28 (Tex. Crim. App. 2005) ("Due to the nature of Anders briefs, by indicating in the
opinion that it considered the issues raised in the briefs and reviewed the record for
reversible error but found none, the court of appeals met the requirement of Texas Rule
of Appellate Procedure 47.1."); Stafford, 813 S.W.2d at 509.  Accordingly, we affirm the
judgment of the trial court.

III. Motion to Withdraw

	In accordance with Anders, Garcia's attorney has asked this Court for permission
to withdraw as counsel for appellant.  See Anders, 386 U.S. at 744; see also In re
Schulman, 252 S.W.3d at 408 n.17 (citing Jeffery v. State, 903 S.W.2d 776, 779-80 (Tex.
App.-Dallas 1995, no pet.) (noting that "[i]f an attorney believes the appeal is frivolous, he
must withdraw from representing the appellant.  To withdraw from representation, the
appointed attorney must file a motion to withdraw accompanied by a brief showing the
appellate court that the appeal is frivolous") (citations omitted)).  We grant counsel's motion
to withdraw.  Within five days of the date of this Court's opinion, counsel is ordered to send
a copy of the opinion and judgment to Garcia and to advise him of his right to file a petition
for discretionary review. (2)  See Tex. R. App. P. 48.4; see also In re Schulman, 252 S.W.3d
at 412 n.35; Ex parte Owens, 206 S.W.3d 670, 673 (Tex. Crim. App. 2006). 


							________________________

							ROGELIO VALDEZ

							Chief Justice

	

Do not publish. 

Tex. R. App. P. 47.2(b)

Delivered and filed the 

21st day of October, 2010. 


			
1.  The Texas Court of Criminal Appeals has held that "the pro se response need not comply with the
rules of appellate procedure in order to be considered.  Rather, the response should identify for the court
those issues which the indigent appellant believes the court should consider in deciding whether the case
presents any meritorious issues."  In re Schulman, 252 S.W.3d 403, 409 n.23 (Tex. Crim. App. 2008) (quoting
Wilson v. State, 955 S.W.2d 693, 696-97 (Tex. App.-Waco 1997, no pet.)).
2.  No substitute counsel will be appointed.  Should Garcia wish to seek further review of this case by
the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary review
or file a pro se petition for discretionary review.  Any petition for discretionary review must be filed within thirty
days from the date of either this opinion or the last timely motion for rehearing that was overruled by this Court. 
See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this Court, after which it will
be forwarded to the Texas Court of Criminal Appeals.  See Tex. R. App. P. 68.3, 68.7.  Any petition for
discretionary review should comply with the requirements of rule 68.4 of the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 68.4.


